                                                                                   Page 1 of 7
        Case 8:20-cr-00048-MSS-TGW Document 41 Filed 10/19/20 Page 1 of 7 PageID 187
Christy A. Stanley
8:20-cr-48-T-35TGW

                                            UNITED STATES DISTRICT COURT
                                             MIDDLE DISTRICT OF FLORIDA
                                                   TAMPA DIVISION

UNITED STATES OF AMERICA                                      Case Number: 8:20-cr-48-T-35TGW

v.                                                            USM Number: 73555-018

CHRISTY A. STANLEY                                            Alec Fitzgerald Hall, FPD


                                    AMENDED JUDGMENT IN A CRIMINAL CASE *

Defendant pleaded guilty to Count One of the Information. Defendant is adjudicated guilty of these
offenses:

                                                                             Date Offense      Count
     Title & Section                    Nature of Offense                    Concluded         Number
     18 U.S.C. § 1343                   Wire Fraud                           In October 2018   One

Defendant is sentenced as provided in the following pages of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.


IT IS ORDERED that Defendant must notify the United States Attorney for this district within 30 days
of any change of name, residence, or mailing address until all fines, restitution, costs and special
assessments imposed by this judgment are fully paid. If ordered to pay restitution, Defendant shall
notify the Court and United States Attorney of any material change in Defendant’s economic
circumstances.

                                                        Date of Imposition of Judgment:

                                                        October 1, 2020




                                                        October 19, 2020




*   Amended to correct Scrivener’s error in Clerk’s Office Address.
AO 245B (Rev. 09/19) Judgment in a Criminal Case
                                                                                   Page 2 of 7
        Case 8:20-cr-00048-MSS-TGW Document 41 Filed 10/19/20 Page 2 of 7 PageID 188
Christy A. Stanley
8:20-cr-48-T-35TGW

                                                   IMPRISONMENT

       Defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of THIRTY (30) MONTHS.

         The Court makes the following recommendations to the Bureau of Prisons:

              • Confinement at FCI Coleman or FCI Tallahassee
              • Vocational Training Opportunities
              • RDAP Program
              • UNICOR
              • Mental Health Counseling.


      Defendant shall surrender for service of sentence at the institution designated by the Bureau of
Prisons not before March 1, 2021 as notified by the United States Marshal.




                                                     RETURN

I have executed this judgment as follows:




Defendant delivered on ____________________ to ______________________________________


at ______________________________________________, with a certified copy of this judgment.


                                                   _______________________________________________
                                                                     UNITED STATES MARSHAL


                                                      By: _______________________________________
                                                                       Deputy U.S. Marshal


AO 245B (Rev. 09/19) Judgment in a Criminal Case
                                                                                   Page 3 of 7
        Case 8:20-cr-00048-MSS-TGW Document 41 Filed 10/19/20 Page 3 of 7 PageID 189
Christy A. Stanley
8:20-cr-48-T-35TGW

                                                    SUPERVISED RELEASE

      Upon release from imprisonment, Defendant will be on supervised release for a term of THREE
(3) YEARS.


                                                   MANDATORY CONDITIONS

1.       Defendant shall not commit another federal, state or local crime.
2.       Defendant shall not unlawfully possess a controlled substance.
3.       Defendant shall refrain from any unlawful use of a controlled substance. Defendant shall
         submit to one drug test within 15 days of release from imprisonment and at least two periodic
         drug tests thereafter, as determined by the court.

4.       Defendant shall cooperate in the collection of DNA as directed by the Probation Officer.

5.       Defendant shall make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any
         other statute authorizing a sentence of restitution.

       Defendant shall comply with the standard conditions that have been adopted by this court (set
forth below).

         Defendant shall also comply with the additional conditions on the attached page.




AO 245B (Rev. 09/19) Judgment in a Criminal Case
                                                                                   Page 4 of 7
        Case 8:20-cr-00048-MSS-TGW Document 41 Filed 10/19/20 Page 4 of 7 PageID 190
Christy A. Stanley
8:20-cr-48-T-35TGW

                                     STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, Defendant shall comply with the following standard conditions of supervision. These
conditions are imposed because they establish the basic expectations for your behavior while on supervision and identify
the minimum tools needed by Probation Officers to keep informed, report to the court about, and bring about improvements
in your conduct and condition.

1.       Defendant shall report to the Probation Office in the federal judicial district where you are authorized to reside within
         72 hours of your release from imprisonment, unless the Probation Officer instructs you to report to a different
         Probation Office or within a different time frame. After initially reporting to the Probation Office, Defendant will
         receive instructions from the court or the Probation Officer about how and when Defendant must report to the
         Probation Officer, and Defendant must report to the Probation Officer as instructed.
2.       After initially reporting to the Probation Office, you will receive instructions from the court or the Probation Officer
         about how and when Defendant shall report to the Probation Officer, and Defendant shall report to the Probation
         Officer as instructed.
3.       Defendant shall not knowingly leave the federal judicial district where you are authorized to reside without first
         getting permission from the court or the Probation Officer.
4.       Defendant shall answer truthfully the questions asked by your Probation Officer
5.       Defendant shall live at a place approved by the Probation Officer. If you plan to change where you live or anything
         about your living arrangements (such as the people you live with), Defendant shall notify the Probation Officer at
         least 10 days before the change. If notifying the Probation Officer in advance is not possible due to unanticipated
         circumstances, Defendant shall notify the Probation Officer within 72 hours of becoming aware of a change or
         expected change.
6.       Defendant shall allow the Probation Officer to visit you at any time at your home or elsewhere, and Defendant shall
         permit the Probation Officer to take any items prohibited by the conditions of your supervision that he or she
         observes in plain view.
7.       Defendant shall work full time (at least 30 hours per week) at a lawful type of employment, unless the Probation
         Officer excuses you from doing so. If you do not have full-time employment Defendant shall try to find full-time
         employment, unless the Probation Officer excuses you from doing so. If you plan to change where you work or
         anything about your work (such as your position or your job responsibilities), Defendant shall notify the Probation
         Officer at least 10 days before the change. If notifying the Probation Officer at least 10     days in advance is not
         possible due to unanticipated circumstances, Defendant shall notify the Probation Officer within 72 hours of
         becoming aware of a change or expected change.
8.       Defendant shall not communicate or interact with someone you know is engaged in criminal activity. If you know
         someone has been convicted of a felony, Defendant shall not knowingly communicate or interact with that person
         without first getting the permission of the Probation Officer.
9.       If you are arrested or questioned by a law enforcement officer, Defendant shall notify the Probation Officer within
         72 hours.
10.      Defendant shall not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous
         weapon (i.e., anything that was designed, or was modified for, the specific purpose of causing bodily injury or death
         to another person such as nunchakus or tasers).
11.      Defendant shall not act or make any agreement with a law enforcement agency to act as a confidential human
         source or informant without first getting the permission of the court.
12.      If the Probation Officer determines that you pose a risk to another person (including an organization), the Probation
         Officer may require you to notify the person about the risk and Defendant shall comply with that instruction. The
         Probation Officer may contact the person and confirm that you have notified the person about the risk.
13.      Defendant shall follow the instructions of the Probation Officer related to the conditions of supervision.


U.S. Probation Office Use Only
A U.S. Probation Officer has instructed me on the conditions specified by the court and has provided me with a written
copy of this judgment containing these conditions. For further information regarding these conditions, see Overview of
Probation and Supervised Release Conditions, available at: www.uscourts.gov.


Defendant’s Signature:                                                                Date:


AO 245B (Rev. 09/19) Judgment in a Criminal Case
                                                                                   Page 5 of 7
        Case 8:20-cr-00048-MSS-TGW Document 41 Filed 10/19/20 Page 5 of 7 PageID 191
Christy A. Stanley
8:20-cr-48-T-35TGW

                             ADDITIONAL CONDITIONS OF SUPERVISED RELEASE

1.       Defendant shall participate in a mental health treatment program (outpatient and/or inpatient)
         and follow the Probation Officer’s instructions regarding the implementation of this court
         directive. Further, Defendant shall contribute to the costs of these services not to exceed an
         amount determined reasonable by the Probation Office’s Sliding Scale for Mental Health
         Treatment Services.

2.       Defendant shall be prohibited from incurring new credit charges, opening additional lines of
         credit, or making an obligation for any major purchases ($1,000 or more) without approval of the
         Probation Officer. The defendant shall provide the Probation Officer access to any requested
         financial information.

3.       The Court orders Defendant to submit to random drug testing not to exceed 104 tests per year.
         Defendant shall refrain from any unlawful use of a controlled substance.




AO 245B (Rev. 09/19) Judgment in a Criminal Case
                                                                                   Page 6 of 7
        Case 8:20-cr-00048-MSS-TGW Document 41 Filed 10/19/20 Page 6 of 7 PageID 192
Christy A. Stanley
8:20-cr-48-T-35TGW

                                            CRIMINAL MONETARY PENALTIES

     Defendant must pay the following total criminal monetary penalties under the schedule of
payments set forth in the Schedule of Payments.
Assessment               Restitution                    Fine          AVAA           JVTA Assessment**
                                                                   Assessment*

 $100.00                $501,131.30                   WAIVED           N/A                   N/A




     Defendant must make restitution (including community restitution) to the following payees in the
amount listed below.

       If Defendant makes a partial payment, each payee shall receive an approximately proportioned
payment, unless specified otherwise in the priority order or percentage payment column below.
However, pursuant to 18 U.S.C. § 3664(I), all nonfederal victims must be paid in full prior to the United
States receiving payment.


                                Name of Payee                  Restitution Ordered

                                First Title Source, LLC        $501,131.30
                                1267 Court Street
                                Clearwater, FL 33756
Payable To:
Clerk of U.S. District Court
801 N. Florida Avenue
Tampa, FL 33602
(For distribution to victims)

In the event that Old Republic and Lloyds of London, the Insurers for the victim, provide
payment on any insurable amount that is the subject of this prosecution and the related
Restitution amount, the Defendant’s payments will then be directed to the insurer(s) pro rata.

                                                   SCHEDULE OF PAYMENTS

Having assessed Defendant’s ability to pay, payment of the total criminal monetary penalties is due as
follows:

                          Special Assessment shall be paid in full and is due immediately.



AO 245B (Rev. 09/19) Judgment in a Criminal Case
                                                                                   Page 7 of 7
        Case 8:20-cr-00048-MSS-TGW Document 41 Filed 10/19/20 Page 7 of 7 PageID 193
Christy A. Stanley
8:20-cr-48-T-35TGW

Unless the Court has expressly ordered otherwise in the special instructions above, if this judgment
imposes a period of imprisonment, payment of criminal monetary penalties shall be due during the
period of imprisonment. All criminal monetary penalties, except those payments made through the
Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the Clerk of the Court,
unless otherwise directed by the Court, the Probation Officer, or the United States attorney.

Defendant shall receive credit for all payments previously made toward any criminal monetary penalties
imposed.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution
interest, (4) AVAA assessment, (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA
assessment, and (9) penalties, and (10) costs, including cost of prosecution and court costs.

                                                   Joint and Several

Restitution shall be paid jointly and severally with Onoriode Frank Nani (1) in Case No. 8:19-CR-77-T-
35JSS should he ever be arrested and either plead guilty to the charges or be convicted of them.




AO 245B (Rev. 09/19) Judgment in a Criminal Case
